
BARHAM, J.,
is of the opinion the writ should be granted. The record at time of plea does not satisfy Boykin v. Alabama, 395 U.S. 238, 89 S.Ct. 1709, 23 L.Ed.2d 274 (1969). At the evidentiary hearing the Assistant District Attorney testified un-qualifiedly and unequivocally that the judge did not in 1970, at the time of this plea, interrogate the defendant relative to the free and voluntary nature of the plea under Boykin. The most that the judge did was ask the lawyer if he had informed defendant of his constitutional rights. This does not satisfy Boykin in the requirements of our state jurisprudence.
DIXON, J., dissents from refusal.
